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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                 Plaintiff,

v.
                                                                    Case No. 16-20003-01-DDC
ASHAWNTUS S. MCCAMBRY,

            Defendant.
_______________________________________

                                   MEMORANDUM AND ORDER

        Defendant Ashawntus McCambry filed a pro se1 motion (Doc. 46) asking the court to

appoint him counsel to file a motion under 18 U.S.C. § 3582(c)(1)(A). The court denied that

request, and explained it would construe Mr. McCambry’s motion as a compassionate release

request. Doc. 51. For reasons explained below, the court denies Mr. McCambry’s request for

compassionate release.

I.      Background

        Mr. McCambry pleaded guilty to Count 1, Possession of a Firearm in Furtherance of a

Drug Trafficking Crime in violation of 18 U.S.C. § 924(c)(1)(A), and Count 2, Felon in

Possession of Firearms in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2), of the Superseding

Information. Doc. 26 at 1. The parties proposed, and the sentencing court accepted, a sentence

of 60 months on Count 1 and 46 months on Count 2, to run consecutively, for a total sentence of

106 months. Doc. 26 at 3; Doc. 33 at 2. Mr. McCambry’s projected release date is September

18, 2023. See Ashawntus S. McCambry, Reg. No. 27351-031, https://www.bop.gov/inmateloc/

(last visited Oct. 12, 2021).


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        “[P]risoners who proceed pro se . . . are entitled to liberal construction of their filings[.]” Toevs v.
Reid, 685 F.3d 903, 911 (10th Cir. 2012); see also Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).
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       On May 25, 2021, Mr. McCambry filed a Motion for Compassionate Release and a

Motion to Appoint Counsel. Doc. 46. On June 18, 2021, the court denied the Motion to Appoint

Counsel and liberally construed the motion to seek relief under 18 U.S.C. § 3582(c)(1)(A), a

Motion for Compassionate Release. Doc. 51 at 1. But, the court found Mr. McCambry failed to

show exhaustion or lapse. Id. at 4. The court ordered Mr. McCambry to show cause why the

court should not dismiss his Motion for Compassionate Release without prejudice for failure to

show exhaustion or lapse. Id. at 5. To date, Mr. McCambry has failed to respond to the court’s

show cause order.

       The court issued the show cause order out of concern that it lacked subject matter

jurisdiction. However, since the court issued the show cause order, our Circuit held that the

exhaustion or lapse requirement is a claim-processing rule that the government may waive or

forfeit—not a jurisdictional requirement. United States v. Hemmelgarn,___ F.4th ___, 2021 WL

4692815, at *2 (10th Cir. Oct. 8, 2021). As a result, Mr. McCambry’s failure to show exhaustion

or lapse is not fatal to his request for compassionate release, and the court proceeds to the merits

of his motion.

I.     Legal Standard

       “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

it has been imposed, but [this] rule of finality is subject to a few narrow exceptions. One such

exception is contained in [18 U.S.C.] § 3582(c)(1).” United States v. Maumau, 993 F.3d 821,

830 (10th Cir. 2021) (citation and internal quotation marks omitted). Under this exception, the

court may modify a term of imprisonment “upon motion of the defendant after the defendant has

fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a




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motion on the defendant’s behalf or the lapse of 30 days2 from the receipt of such a request by

the warden of the defendant’s facility, whichever is earlier[.]” 18 U.S.C. § 3582(c)(1)(A); see

also Maumau, 993 F.3d at 830–31 (reviewing § 3582(c)(1)’s history, text, and requirements).

Recently, our Circuit held that the exhaustion requirement is a claim-processing rule that the

government may waive or forfeit. Hemmelgarn, 2021 WL 4692815, at *2.

        After considering exhaustion, the court applies a three-step analysis to motions filed

under § 3582(c)(1)(A). United States v. McGee, 992 F.3d 1035, 1042 (10th Cir. 2021). The

court may grant a motion for reduction of sentence only if “(1) the district court finds that

extraordinary and compelling reasons warrant such a reduction; (2) the district court finds that

such a reduction is consistent with applicable policy statements issued by the Sentencing

Commission; and (3) the district court considers the factors set forth in [18 U.S.C.] § 3553(a), to

the extent that they are applicable.” Id. Relief may “be granted only if all three perquisites are

satisfied,” and, accordingly, “the three steps [can] be considered in any order.” United States v.

Hald, 8 F.4th 932, 942 (10th Cir. 2021).

        The Tenth Circuit recently held that it does not view the first step—“extraordinary and

compelling” reasons—in § 3582(c)(1)(A) as jurisdictional. See id. at 942 n.7 (declining “to read

a jurisdictional element into § 3582(c)(1)(A)’s ‘extraordinary and compelling reasons’

requirement when the statute itself provides no indication (much less a ‘clear statement’) to that

effect”).

        The court need not consider the second step of the analysis because the Sentencing

Commission has not issued an “applicable policy statement” for defendant-filed compassionate



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          Under § 3582(c)(1)(A), a defendant may file a motion for compassionate release directly with the
district court after “the passage of 30 days from the defendant’s unanswered request to the warden for
such relief.” See Maumau, 993 F.3d at 830 (emphasis added).

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release motions, like this one. Maumau, 993 F.3d at 837. So, unless “and until the Sentencing

Commission issues such a policy statement, the second requirement does not apply.” United

States v. Quinn, No. CR 10-20129-03-KHV, 2021 WL 3129600, at *2 (D. Kan. July 23, 2021).

II.    Discussion

       The government does not contest that Mr. McCambry has met the exhaustion or lapse

requirements of 18 U.S.C. § 3582(c)(1)(A). See Doc. 53. Thus, the court considers this

argument forfeited and proceeds to the merits. The court denies Mr. McCambry’s motion for

two independently sufficient reasons, explained below: (1) Mr. McCambry has not shown

extraordinary and compelling reasons, and (2) the § 3553(a) sentencing factors do not favor his

release.

               Whether Mr. McCambry Presents Extraordinary and Compelling Reasons

       Mr. McCambry seeks compassionate release because of his medical conditions—

ulcerative colitis and breathing problems from a coronavirus infection—and the COVID-19

outbreak at the prison. Doc. 46 at 2. Earlier this year, our district considered a similar case. See

United States v. Moreno, 519 F. Supp. 3d 937 (D. Kan. 2021). In Moreno, defendant argued he

satisfied the extraordinary and compelling reasons requirement because his medical conditions,

including “psoriasis, ulcerative colitis, early exposure to tuberculosis, and the presence of a VP

shunt,” increased his risk of serious harm or death from COVID-19. Id. at 941. The Moreno

court made two persuasive findings. First, the Moreno court found it significant that the

defendant had tested positive for COVID-19 and, even “assuming that defendant could or would

contract COVID-19 a second time, there is no reason to believe he would experience an adverse

outcome[.]” Id. at 941–42 (first citing United States v. Funez, No. 13-cr-00160-PAB-7, 2021

WL 168447, at *3 (D. Colo. Jan. 19, 2021) (finding it significant that the defendant already had



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contracted COVID-19 and recovered without incident); then citing United States v. Rodriguez-

Maciel, No. 13-10140-03-JWB, 2021 WL 147985, at *2 (D. Kan. Jan. 15, 2021) (finding a

general fear of reinfection not sufficient to warrant compassionate release where defendant

recovered from COVID-19); then citing United States v. Simpson, No. 19-20026-JAR, 2021 WL

147986, at *2 (D. Kan. Jan. 15, 2021) (same)). Second, the Moreno court held, “even assuming

that he contracted COVID-19 a second time and that the second time has the potential to be more

serious, defendant is still not eligible for compassionate release because he has not shown that

his particular medical conditions warrant it.” Id. at 942. Ultimately, the Moreno court found the

defendant did not show “that his medical conditions constitute extraordinary and compelling

reasons[.]” Id.

       This case is similar to Moreno, but Mr. McCambry has fewer medical issues. Here, as

there, Mr. McCambry claims his ulcerative colitis3 and breathing problems from a prior COVID-

19 infection put him at risk during the COVID-19 pandemic. See Doc. 46. But Mr. McCambry

previously contracted COVID-19. Doc. 53 at 16. The record shows that Mr. McCambry

experienced an asymptomatic case of COVID-19. Id. Even if Mr. McCambry contracted

“COVID-19 a second time, there is no reason to believe he would experience an adverse

outcome,” given his prior experience. Moreno, 519 F. Supp. 3d at 941–42. And, here, as in

Moreno, Mr. McCambry’s particular medical conditions are not recognized risk categories

according to the CDC. See CDC, People With Certain Medical Conditions,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last visited Oct. 12, 2021). Thus, Mr. McCambry does not present

extraordinary and compelling reasons for a sentence reduction.


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       The government confirmed Mr. McCambry’s ulcerative colitis diagnosis and provided the
medical records. Doc. 53 at 14–15.

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                 Whether the § 3553(a) Factors Favor Reducing the Sentence

        Even if Mr. McCambry had presented extraordinary and compelling reasons for a

sentence reduction, his motion nonetheless fails at the third step of the § 3582(c)(1)(A) analysis.

Before the court may reduce a defendant’s term of imprisonment under § 3582(c)(1)(A), the

court must consider whether the defendant poses a danger to the community, and the relevant

sentencing factors under § 3553(a). 18 U.S.C. § 3582(c)(1)(A).4 If a proposed modified

sentence strays too far from the original sentence, the § 3553(a) factors cannot support the

sentence reduction, even where a defendant faces extraordinary and compelling circumstances.

See United States v. Pope, No. 16-10039-JTM, 2020 WL 5704270, at *1 (D. Kan. Sept. 24,

2020) (“This court has concluded that compassionate release based on COVID-19 related

concerns should be denied where the resulting sentence would materially depart from an

appropriate § 3553(a) sentence[.]”); United States v. Kaufman, No. 04-40141-1-JTM, 2020 WL

4196467, at *2 (D. Kan. July 21, 2020) (“Even when an older inmate faces some serious medical

condition, compassionate release should be denied if it would radically alter the appropriate §

3553 sentence.”).

        Mr. McCambry committed a serious felony offense. Law enforcement suspected drug

trafficking at a residence, and when police executed a search warrant at that residence, Mr.

McCambry fired shots at the officers. Doc. 29 at 5 (Presentence Investigation Report ¶¶ 14, 17).

Police found guns, powder cocaine, crack cocaine, heroin, and marijuana at the residence. Id. at

5–6 (Presentence Investigation Report ¶¶ 18, 22). Mr. McCambry pleaded guilty to Possession


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         Those factors include: (1) defendant’s personal history and characteristics; (2) his sentence
relative to the nature and seriousness of his offenses; (3) the need for a sentence to provide just
punishment, promote respect for the law, reflect the seriousness of the offense, deter crime, and protect
the public; (4) the need for rehabilitative services; (5) the applicable guideline sentence; and (6) the need
to avoid unwarranted sentencing disparities among similarly-situated defendants. See 18 U.S.C. §
3553(a).

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of a Firearm in Furtherance of a Drug Trafficking Crime and Felon in Possession of Firearms.

Doc. 33 at 1. Mr. McCambry was sentenced to 106 months. Doc. 33 at 2. This is the sentence

Mr. McCambry agreed to in his plea agreement. Doc. 26 at 3. And, his projected release date

remains nearly two years away. See Ashawntus S. McCambry, Reg. No. 27351-031,

https://www.bop.gov/inmateloc/ (last visited Oct. 12, 2021). Given these facts, the court finds

that a sentence reduction would not reflect the nature and seriousness of Mr. McCambry’s

offense. It would radically alter the appropriate sentence and no longer provide just punishment

for his offense.

III.   Conclusion

       Mr. McCambry fails to present extraordinary and compelling circumstances that warrant

compassionate release. And, the applicable sentencing factors do not support the substantial

sentence modification that Mr. McCambry seeks. His motion thus fails to satisfy §

3582(c)(1)(A)’s requirement and, as a result, is denied.

       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. McCambry’s motion

under 18 U.S.C. § 3582(c)(1)(A) (Doc. 46) is denied.

       IT IS SO ORDERED.

       Dated this 20th day of October, 2021, at Kansas City, Kansas.

                                                     s/ Daniel D. Crabtree
                                                     Daniel D. Crabtree
                                                     United States District Judge




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